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                       UNITED STATES DISTRICT COURT
                            DISTRICT OF MAINE

 UNITED STATES OF AMERICA

            v.                                    No. 1:22-cr-00095-LEW

 CHRISTIE N. MITCHELL


                             PROSECUTION VERSION

      If this case went to trial, the Government, through various documents, official

records, and the testimony of witnesses, would prove the following facts beyond a

reasonable doubt:

      1.     The Defendant, Christie N. Mitchell, has received Supplemental Security

Income (“SSI”), MaineCare, and Supplemental Nutrition Assistance Program (“SNAP”)

benefits since 1993. When applying for these programs, the defendant would have been

informed of her reporting requirements, including any changes in her household

composition, as well as the income and resources of members of her household.

      2.     The Defendant married her husband in September 2005. She did not

report him as a member of her household to the Social Security Administration (“SSA”).

      3.     In 2012, the SSA assessed an overpayment of $28,504.13 on the

defendant’s record for the period from November 2006 through October 2012. The

October 17, 2012, notice informing her of this overpayment explained that it was

assessed because she had failed to disclose the presence of her husband in her home,

whose income and resources affected her eligibility to receive SSI benefits. Following

this, her SSI payments were reduced to $98 per month.




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        4.    On November 28, 2012, the defendant filed an emergency application for

assistance from the Maine Department of Health & Human Services (“ME/DHHS”)

based on eviction, providing a letter from her landlord as corroboration. She explained

that her husband had moved out and she was on her own, and that her SSI benefits had

just been reduced. In December 2012, the defendant and her husband reported to

ME/DHHS that they were living in separate houses. The defendant informed SSA that

her husband had moved out of her household on December 7, 2012. Following this, her

SSI payments were resumed at $771 per month, with $50 withheld to offset the

overpayment on her record.

        5.    A variety of evidence, including signed rental agreements, residential

dwelling permits, Maine Bureau of Motor Vehicles records, statements from neighbors,

landlords, and others, and social media postings would show that the defendant has

lived with her husband from at least October 6, 2013, through February 2020.

        6.    In October 2014, the defendant submitted a statement to SSA in which she

claimed to have not lived in the same household as her husband since December 4,

2013.

        7.    On May 14, 2014, the defendant filled out a review for continuing

eligibility for SSI benefits. Therein, she represented that her spouse no longer lived in

her household, claiming he lived with his mother in Troy, ME, and that he would also

stay with friends. She again denied his presence in her household and failed to account

for his income or resources in eligibility reviews in May 2016, June 2017, April 2018,

and April 2019.




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       8.     In annual reviews by the ME/DHHS for MaineCare and SNAP benefits

eligibility administered from 2013 through 2019, the defendant failed to disclose her

husband’s presence in her household, or account for his income and resources.

       9.     In May 2019, the defendant submitted three letters to ME/DHHS in

response to a request. These letters falsely indicated that the defendant and her son

were the only members of her household, and at least one was forged.

       10.    From October 2013 through February 2020, the defendant collected

approximately $28,557.00 in SSI benefits she was not entitled to. Similarly, between

October 2013 and December 2019, the defendant benefited from approximately

$38,030.73 worth of MaineCare payments and $16,352.00 in SNAP benefits she was not

entitled to. In total, as a result of her false statements and concealment of material

information, the defendant collected approximately $82,939.73 in benefits payments

she was not entitled to. As the defendant knew, her husband’s income and assets, and

material support she received from him, were sufficient to render her ineligible to

receive these benefits.

Dated: April 19, 2024                            Respectfully submitted,

                                                 DARCE N. MCELWEE
                                                 UNITED STATES ATTORNEY

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                             CERTIFICATE OF SERVICE
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       I hereby certify that on April 19, 2024, I electronically filed the above Prosecution
Version with the Clerk of Court using the CM/ECF system which will send notification
of such filing to the following:

James S. Nixon, Esq.
James_Nixon@fd.org
                                                 /s/Jeanne D. Semivan
                                                 Special Assistant United States Attorney




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